     Case 2:18-cv-02421-JFW-E Document 141 Filed 07/10/18 Page 1 of 3 Page ID #:2666



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9                                 UNITED STATES DISTRICT COURT

10                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

11                                           WESTERN DIVISION

12                                                               Civil Case No.:
      BROIDY CAPITAL MANAGEMENT                                  2:18-CV-02421-JFW-(Ex)
13    LLC and ELLIOTT BROIDY,
14          Plaintiffs,
                                                                 ORDER ON JOINT STIPULATION
15
            v.                                                   REGARDING PLAINTIFFS’
16                                                               PUBLIC FILING OF PROTECTED
17    STATE OF QATAR, STONINGTON                                 INFORMATION ON JULY 6, 2018
      STRATEGIES LLC, NICOLAS D.
18    MUZIN, GLOBAL RISK ADVISORS
19    LLC, KEVIN CHALKER, DAVID MARK
      POWELL, MOHAMMED BIN HAMAD
20    BIN KHALIFA AL THANI, AHMED AL-
21    RUMAIHI, and DOES 1-10,
22          Defendants.
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                                          ORDER ON JOINT STIPULATION REGARDING
                            PLAINTIFFS’ PUBLIC FILING OF PROTECTED INFORMATION ON JULY 6, 2018
     Case 2:18-cv-02421-JFW-E Document 141 Filed 07/10/18 Page 2 of 3 Page ID #:2667



1           As described more fully in the parties’ Joint Stipulation, on July 6, 2018, counsel
2     for the Plaintiffs caused Dkt. 126 to be filed on the public docket, notwithstanding the
3     fact that the docket entry contained confidential information that had been provisionally
4     designated as Attorney’s Eyes Only by an Order of the United States District Court for
5     the Southern District of New York (the “Protected Information”). Plaintiffs contend that
6     the public filing of the Confidential Information was the result of an inadvertent clerical
7     error. That docket entry was subsequently sealed by the Court upon Plaintiffs’ oral ex
8     parte application. Dkt. 128.
9           Presently before the Court is Plaintiffs’ and Defendant State of Qatar’s Joint
10    Stipulation Regarding Plaintiffs’ Public Filing of Confidential Information on July 6,
11    2018. There is good cause for the remedial measures agreed upon by the parties therein
12    in light of the substantial harm that may result from the disclosure of confidential
13    information subject to a court-ordered confidentiality order. Accordingly,
14          IT IS HEREBY ORDERED:
15                 1. Notwithstanding the public filing of Dkt. 126, no party or their counsel
16    shall discuss or disclose the Protected Information with anyone other than this Court or
17    attorneys at the law firms of record for the parties or Mr. Allaham or anyone else entitled
18    to have access to the Protected Information pursuant to the Order entered by the Southern
19    District of New York, except that the parties may, in an effort to prevent further public
20    dissemination or discussion of the Protected Information, refer to this Order and explain
21    that the Protected Information should not have been publicly filed and is subject to a
22    provisional “Attorney’s Eyes Only” restriction which prohibits discussion or disclosure
23    of the Protected Information except as provided by the Order entered by the Southern
24    District of New York until such time as this Court has an opportunity to rule on a more
25    permanent protective order in the underlying action.
26                 2. On or before July 13, 2018, counsel for the Plaintiffs shall serve on Qatar
27    declarations or affidavits sworn under penalty of perjury from the lawyers and legal staff
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                                        ORDER ON JOINT STIPULATION REGARDING
                          PLAINTIFFS’ PUBLIC FILING OF PROTECTED INFORMATION ON JULY 6, 2018
     Case 2:18-cv-02421-JFW-E Document 141 Filed 07/10/18 Page 3 of 3 Page ID #:2668



1     involved in the incident in which the Protected Information was publicly disclosed,
2     describing in detail the acts that resulted in the public disclosure.
3                    3. Counsel for Plaintiffs shall undertake good faith, reasonable efforts to
4     identify docketing service vendors that may have disseminated the Protected Information
5     prior to this Court’s sealing of Dkt. 126—such as PacerPro, PacerDash, LexisNexis,
6     Westlaw, and similar services—and to obtain from any such vendors the identities of any
7     subscribers who received copies of Dkt. 126 and thus may have received the Protected
8     Information.
9                    4. Counsel for Plaintiffs shall undertake good faith, reasonable efforts to
10    have such docketing service vendors recall any communications disseminating the
11    Protected Information.
12                   5. Counsel for Plaintiffs shall inform Qatar’s counsel of the efforts
13    undertaken to identify relevant docketing service vendors, to obtain the identity of
14    subscribers who received copies of the Protected Information, and to recall any
15    communications from docketing service vendors disseminating the Protected
16    Information.
17                   6. This Order is without prejudice to all rights of Qatar, including (without
18    limitation) the right to seek further relief in the event Plaintiffs do not comply with the
19    terms of this Order.
20
21          SO ORDERED:            July 10, 2018
                                   At: 4:40 p.m.
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                                   Los Angeles, California
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                                                                    _________________________
25                                                                  Hon. John F. Walter
26                                                                  United States District Judge
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                                         ORDER ON JOINT STIPULATION REGARDING
                           PLAINTIFFS’ PUBLIC FILING OF PROTECTED INFORMATION ON JULY 6, 2018
